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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                            No. 12-570V
                                     Filed: November 14, 2014
                                         Not for Publication

*************************************
BARBARA KEIL, as Personal                   *
Representative of the Estate of             *
MARK DENEEN, Decedent,                      *
                                            *
               Petitioner,                  *                     Voluntary dismissal under
                                            *                     Vaccine Rule 21(a)
 v.                                         *
                                            *
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
               Respondent.                  *
                                            *
*************************************
Isaiah R. Kalinowski, Washington, DC, for petitioner.
Justine E. Daigneault, Washington, DC, for respondent.

MILLMAN, Special Master

                            ORDER CONCLUDING PROCEEDINGS1

      On September 5, 2012, Mark Deneen filed a petition under the National Childhood
Vaccine Injury Act, 42 U.S.C. §§ 300aa-10–34 (2006), alleging that he suffered Guillain-Barré
Syndrome (“GBS”) as a result of the trivalent influenza (“flu”) vaccination he received on
September 15, 2009.

        Mark Deneen died on August 3, 2013, and Barbara Keil, the personal representative of his
estate, was substituted as petitioner on July 23, 2014.

1
 Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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       On November 14, 2014, the parties filed a Joint Stipulation of Dismissal, stating the parties
give notice of petitioner’s voluntary dismissal pursuant to Vaccine Rule 21(a).

        Accordingly, pursuant to Vaccine Rule 21 (a), the above-captioned case is hereby
dismissed. The Clerk of the Court is hereby instructed that a judgment shall not enter in the
instant case pursuant to Vaccine Rule 21(a).

                                         CONCLUSION

       Proceedings are concluded in this case.


IT IS SO ORDERED.


Dated: November 14, 2014                                                      s/ Laura D. Millman
                                                                                 Laura D. Millman
                                                                                  Special Master




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